Case:
  Case14-1134
        1:11-cv-00438-NT
                 Document:Document
                          30 Page: 651 Filed
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                                               Filed: 09/03/2014
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               United States Court of Appeals
                              For the First Circuit
 No. 14-1134
                                    JOHN M. MILLAY

                                     Plaintiff - Appellee

                                              v.

   STATE OF MAINE DEPARTMENT OF LABOR, Bureau of Rehabilitation, Division for the
                         Blind and Visually Impaired

                                   Defendant - Appellant


                                        MANDATE

                                 Entered: September 3, 2014

        In accordance with the judgment of August 11, 2014, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            /s/ Margaret Carter, Clerk


 cc:
 Brett D. Baber
 Susan P. Herman
 Nancy M. Macirowski
 Paul Stern
